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                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF TEXAS
                                             DEL RIO DIVISION                                   JAN 07

    UNITED STATES OF AMERICA                                 §
                                                             §

    VS.
                                                                   CAUSE NO.: DR24-3168M
                                                             §
    NESLIHAN SIMSIK


                                              STIPULATION OF FACTS
                 The United States of America, by and through the United States Attorney for the Western

    District of Texas and the undersigned Assistant U.S. Attorney, the Defendant, and Defense counsel

    hereby stipulate that if this matter were to proceed to trial, the United States would establish by

    legal and competent evidence the following facts beyond a reasonable doubt:


.                On October 16, 2024, NESLIHAN SIMSIK (Herein after "Defendant")

                 unlawfully entered or attempted to enter the United States near Eagle Pass, Texas

                 within the Western District of Texas, at a time and place other than that designated

                 by United States immigration officials for the entrance of immigrants into the

                 United States. The Defendant is an alien and citizen of Turkiye, The Defendant

                 committed all of the foregoing acts knowingly and voluntarily with the specific

                 intent to violate the law.

                                                                 Respectfully submitted,




                                                       By:

                                                                 As   ta   United States Attorney



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        After consulting with my attorney, I hereby stipulate the above Statement of Facts is true
and accurate, and had the matter proceeded to trial, the United States would have proved the same
beyond a reasonable doubt. I accept responsibility for my actions in this case and apologize for
having committed this offense.



        Signedthis           dayof                                        c!E'-


                                                     x
                                                    NESLIHAN SIMSIK
                                                    Defendant

        I am Defendant's Attorney, I have carefully reviewed the above Stipulation   of Facts with
the Defendant. To my knowledge, Defendant's decision to stipulate to such facts is informed and
voluntary.



       Signed this______ day of__________________




                                                                  MIRELES, II
                                                         endant s Attorney

       Adopted and approved this             day of____________________________




                                                    ERNEST GONZ L
                                                    United States District Judge




       NSLIHAN SIMSIK
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